Case 1:21:

STATE OF NEW MEXICO
COUNTY OF RIO ARRIBA

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FILED 1st JUDICIAL DISTRICT COURT
Rio Arriba County

10/14/2021 4:58 PM

KATHLEEN VIGIL CLERK OF THE COURT
Johnny Enriquez-Lujan

FIRST JUDICIAL DISTRICT |

ROBERT CHAV
Plaintifh,
VS.

PILOT TRAVEL

EZ,

No, D-117-CV-2021-00369

CENTERS, LLC

: We rH ; d, Kathleen McGar
d/b/a FLYING J TRAVE!, CENTER, Case assigned to Ellenwood, Kathleen McGarry

Defendant.

COMPLAINT TO RECC IVER DAMAGES FOR PERSONAL INJURIES

Plaintiff R

 

OBERT CHAVEZ, by and through counsel, Hinkle Law Offices, LLC (Cloyd G.

Hinkle and Warren FP. Hire, ID, for his cause of action against Defendant PILOT TRAVEL

CENTERS, LLC

By A

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County, State of N

2. At
“Defendant” was
the Flying J Trave:

3. Det

o

New Mexico, and

4. Thi

d/b/a FLYING J. TRAVEL CENTER, states as follows:

all times riinterial herein, Plaintiff was a resident of Anton Chico, Guadalupe
jew Mexico.

all times material herein, Defendant Pilot Travel Centers, LLC (hereinatter
a Texas corporation, operating a chain of truck stops/ fueling stations including
{ Center in the Town of Moriarty, Torrance County, State of New Mexico.
fendant maintains a statutory agent in the City of Espanola, Rio Ariba County,
venue in this Court is proper pursuant to Section 38-3-1(P) NMSA, 1978.

© OCCUTTeNCce giving rise to this action occurred in the Town of Moriarty, Torrance

County, State of New Mexico.

3, On

or about January 17, 2020, at approximately 1:15 p.m., the Plaintiff was a

customer at the Flying J. Travel Center located at 305 Abrahames Road, in the Town of Moriarty,

 
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Torrance County
purchases, he we

containing oily re

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State of New Mexico. As Plaintiff exited the store with his hands full of his

ilked across a handicap parking spot nearest the door, stepping into a puddle

sidue and water, causing him to slip and fall forward onto his ti ght side. There were

no signs placed in the area informing Plaintiff of the slippery puddle.

6. De

the use by Plainti

4 De
signs to alert Plais
8. De

for dangerous cot
Defendant knew,
that patrons, inclo

9, De
aforementioned da
known that a dang

1d, A

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serious injuries, re

may continue into

the ability to enjoy

future.

Hi.

WHEREF

Plai

fendant owed Plaintiff a duty to use reasonable care ta keep the premises safe for

ff and other patrons of the business.

fendant breached its duty by negligently failing to post any warming devices or

nuff and other patrons of the business that a dangerous condition existed,

fendant further breached its duty to by negligently failing to inspect the premises

nditions, such as a slippery puddle, in an area where patrons would walk and

or should have known, that a sli ppery puddle in the parking lot increased the risk

ding Plaintiff, could slip and fall on Defendant’s premises.

fendant further breached its duty by negligently failing to warn Plaintiff of the
Nerous condition when it knew, or in the exercise of reasonable care, should have
erous condition existed,

a direct and proximate result of the negligence of the Detendant, Plaintiff suffered
quiring medical treatment, and incurred medical and nonmedical expenses that
the future, Plaintiff has also experienced pain and suffering and interference with

and participate in daily activities. Some of these damages may extend into the

tiff is entitled to damages for all of his past and future losses.

ORE, Plaintiff ROBERT CHAVEZ tespectiully requests judgment be in entered

in his favor and against the Defendant PILOT TRAVEL CENTERS, LLC d/b/a PLYING J.

 
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TRAVEL CENTER for compensatory damages, costs, pre-judgment interest from the date of service
of this Complaint, and such other and further relief as this Court deems appropriate.
Respectfully submitted,

HINKLE LAW OFFICES, LLC

Electronically signed

Cloyd G, Hinkle

Cloyd G. Hinkle

Warren F. Hire, I

3939 San Pedro, N.E., Bldg. A
Albuquerque, New Mexico 87110
(505) 883-4357

Attorney for Plaintiff

 
